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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA
                                      MIAMI DIVISION

                                         Civil Action Number:

    JESUS GONZALEZ

           Plaintiff,
    vs.

    EM SQUARED MIAMI, LLC
    d/b/a KFC at Central Shopping Plaza,

           Defendant.
                                                   /

                           COMPLAINT FOR INJUNCTIVE RELIEF

           Plaintiff Jesus Gonzalez (“Plaintiff”), by and through his undersigned counsel,

    hereby sues Defendant EM Squared Miami, LLC (“Defendant”) doing business as the KFC

    at Central Shopping Plaza for injunctive relief pursuant to 42 U.S.C. §§12181-12189 of the

    Americans with Disabilities Act (“ADA”) and 28 C.F.R. Part 36 and alleges:

                                           JURISDICTION

           1.      This is an action for declaratory and injunctive relief pursuant to Title III of

    the Americans with Disabilities Act (“ADA”) 42 U.S.C. §§12181-12189. This Court is

    vested with original jurisdiction under 28 U.S.C. §1331.

           2.      Venue is proper in the Court, pursuant to 28 U.S.C. §1391(b) in that all

    events giving rise to this lawsuit occurred within the Southern District of Florida and the

    subject premises is located within the jurisdiction of this Court.

           3.      Defendant is authorized to conduct, and are conducting, business within the

    State of Florida and within the jurisdiction of this court.




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                                              PARTIES

           4.      Plaintiff Jesus Gonzalez is a resident of the state of Florida. Plaintiff has a

    “qualified disability” under the ADA as he is disabled with neuropathy and nerve damage

    due to radiation and utilizes a wheelchair for mobility. Plaintiff’s disability is defined in 42

    US Code §12102(1)(A), (2) and in 28 C.F.R. §36.105(b)(2) and 28 C.F.R.

    §36.105(2)(iii)(D).   Plaintiff is also a “tester” to determine whether places of public

    accommodation are in compliance with the ADA/ADAAG.

           5.      Defendant EM Squared Miami, LLC is a foreign limited liability company

    authorized to transact business in the state of Florida. Defendant is the franchisee of the

    KFC casual food restaurant located at the edge (but still within) Central Shopping Plaza,

    with specific address being 720 NW 37th Avenue, Miami, Florida 33125.

                                               FACTS

           6.      KFC brand fast casual restaurants are open to the public and specialize in

    American style fried chicken along with biscuits, gravy and other accompaniments. Each

    KFC fast casual restaurant (including the franchised KFC restaurant located within the

    Central Shopping Plaza) is a place of public accommodation pursuant to 42 U.S.C.

    §12181(7)(B) and 28 C.F.R. §36.104(2) since it is “a restaurant, bar, or other establishment

    serving food or drink.” The KFC restaurant within the Central Shopping Plaza is also

    referenced as “KFC (restaurant),” “restaurant” or “place of public accommodation.”

           7.      At all times material hereto, Defendant was (and is) a franchisee

    owner/operator of the KFC restaurant located within the Central Shopping Plaza which is

    open to the public. As the owner and operator of a restaurant which is open to the public,

    Defendant is defined as a “Public Accommodation" within meaning of Title III because it is




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    a private entity which owns, or operates a supermarket; 42 U.S.C. §12182, §12181(7)(B)

    and 28 C.F.R. §36.104(2).

           8.      Due to the close proximity of Plaintiff’s home to the Central Shopping Plaza,

    on February 16, 2022 Plaintiff went to the KFC restaurant located within the Central

    Shopping Plaza to purchase a chicken meal and to test the public accommodation for

    compliance with the ADA/ADAAG.

           9.      Due to the fact that he perambulates with the assistance of a wheelchair,

    Plaintiff met barriers to access while in the restroom of the subject KFC restaurant.

           10.     Based on the access impediments Plaintiff encountered, Plaintiff has been

    denied full and equal access within the subject place of public accommodation. As a result,

    Plaintiff has suffered loss of dignity, mental anguish and other tangible injuries and has

    suffered an injury-in-fact.

           11.     As a franchisee of a KFC restaurant, Defendant is aware of the ADA and the

    need to provide for equal access in all areas of its franchised restaurant. Therefore, its failure

    to reasonably accommodate mobility impaired and disabled patrons by insuring that its KFC

    restaurant is fully accessible is/was willful, malicious, and oppressive and in complete

    disregard for the Civil Rights of the Plaintiff and in violation of 28 C.F.R. §36.302.

           12.     Plaintiff continues to desire to patronize the KFC restaurant located at the

    Central Shopping Plaza but continues to be injured in that he continues to be discriminated

    against due to the barriers to access within that place of public accommodation, all which

    are in violation of the ADA.

           13.     Any and all requisite notice has been provided.




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           14.     Plaintiff has been obligated to retain the civil rights law office of J. Courtney

    Cunningham, PLLC and has agreed to pay a reasonable fee for services in the prosecution of

    this cause, including costs and expenses incurred. Plaintiff is entitled to recover those

    attorney’s fees, costs and expenses from Defendant pursuant to 42 U.S.C. §12205.

                    COUNT I – VIOLATIONS OF TITLE III OF THE ADA

           15.     The ADA was enacted and effective as of July 26, 1990 and ADA legislation

    has been protecting disabled persons from discrimination due to disabilities since that time.

    Over 30 years have passed since enactment of the ADA, public accommodations and places

    of public accommodation have had adequate time for compliance.

           16.     Congress explicitly stated that the purpose of the ADA was to:

           (i)     provide a clear and comprehensive national mandate for the
                   elimination of discrimination against individuals with disabilities;
           (ii)    provide clear, strong, consistent, enforceable standards addressing
                   discrimination against individuals with disabilities; and,
           (iii)   invoke the sweep of congressional authority, including the power to
                   enforce the fourteenth amendment and to regulate commerce, in
                   order to address the major areas of discrimination faced on a daily
                   by people with disabilities.

                   42 U.S.C. §12101(b)(1)(2) and (4).

           17.     Prior to the filing of this lawsuit, Plaintiff personally visited the KFC

    restaurant located at the Central Shopping Plaza to enjoy a chicken meal and to test the

    restaurant for compliance with the ADA/ADAAG, however, Plaintiff was denied adequate

    accommodation because, as a disabled individual who utilizes a wheelchair for mobility,

    Plaintiff met barriers to access. Therefore, Plaintiff has suffered an injury in fact.

           18.     As a public accommodation, Defendant is governed by the ADA and must be

    in compliance therewith. Defendant has discriminated against Plaintiff, a disabled patron, in

    derogation of 28 C.F.R. Part 36.



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            19.     Defendant has discriminated (and continues to discriminate) against Plaintiff

    by denying full and equal access to, and full and equal enjoyment of, goods, services,

    facilities, privileges, advantages and/or accommodations in derogation of 42 U.S.C. §12101

    et seq., and as prohibited by 42 U.S.C. §12182 et seq. by failing to barriers to access

    pursuant to 42 U.S.C. §12182(b)(2)(a)(iv), where such removal is readily achievable.

            20.     Plaintiff has been unable to, and continues to be unable to, enjoy full and

    equal safe access to, and the benefits of, the accommodations and services offered at the

    KFC restaurant located at the Central Shopping Plaza.

            21.     Pursuant to the mandates of 42 U.S.C. §12134(a), on July 26, 1991 (as

    amended), the Department of Justice, Office of the Attorney General, promulgated Federal

    Regulations to implement the requirements of the ADA, known as the Americans with

    Disabilities Act Accessibility Guidelines (hereinafter “ADAAG”), 28 C.F.R. Part 36, under

    which said Department may obtain civil penalties of up to $75,000 for the first violation and

    $150,000 for any subsequent violation.

            22.     Defendant’s franchised KFC restaurant is in violation of 42 U.S.C. §12181 et

    seq., the ADA and 28 C.F.R. §36.302 et seq. and Defendant is discriminating against the

    Plaintiff as a result of inter alia, the following specific violations:

      i.    Plaintiff had difficulty opening the restroom door, as it does not have the required

            door pressure. The restroom door opening force resulted in the need for excessive

            weight/force to open. This is violative Section 4.13.11 and other sections of the

            ADAAG. The door opening force shall not be greater than that delineated at 28

            C.F.R. Part 36.211. The 2010 ADA Standards for Accessible Design Section 404.2.7

            states that operable parts on doors and gates must comply with Section 309.4, and




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            Section 404.2.9 states that the force required to activate the door shall be 5 pounds

            maximum. Section 404.2.8.1 requires that door and gate spring hinges must be

            adjusted so that the time to move the door to a position of 12 degrees from the latch

            is 5 seconds minimum.

      ii.   Plaintiff could not use the toilet without assistance, as the toilet is mounted at a non-

            compliant distance from the side wall. This is a violation of Sections 4.16.2 of the

            ADAAG and Sections 604.2 of the 2010 ADA Standards for Accessible Design.

            According to Section 4.16.2 at Fig 28, the toilet should be mounted 18 min (455

            mm) from the side wall to the center line of toilet. The side wall mount shall be

            either mounted 18 min (455 mm) from the side wall to the center line of toilet or min

            (1065 cm) from the side wall to the center of the toilet.

     iii.   Plaintiff could not transfer to the toilet without assistance, as the required

            maneuvering clearance was not provided due to the encroaching item (trash can),

            which encroaches over the accessible water closet clear floor space. This is a

            violation of Section 4.16.2 of the ADAAG (which specifies the amount of space

            required at an accessible toilet, which includes clear floor space around fixtures) and

            Section 604.3.1 of the 2010 ADA Standards for Accessible Design which states that

            water closet clearance shall be 60 inches (1525 mm) minimum measured

            perpendicular from the side wall and 56 inches (1420 mm) minimum measured

            perpendicular from the rear wall.

     iv.    Plaintiff could not use the lavatory sink without assistance, as the lavatory sink does

            not provide knee clearance above the finished floor to bottom leading edge of fixture

            at 8” horizontal projection. The appropriate knee clearance must be at least 27” (685




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           mm) high, 30” (760 mm) wide, and 19” (485 mm) deep underneath the sink. The

           lavatory sink is in violation of the requirements in Section 4.19.2 of the ADAAG

           which states that lavatories shall be mounted with the rim or counter surface no

           higher than 34 in (865 mm) above the finished floor. This is also in violation of

           Section 606.2 of the 2010 ADA Standards for Accessible Design which requires

           compliance with Section 306.3 (Fig. 306.3). Section 606.3 also states that lavatories

           shall be mounted with the rim or counter surface no higher than 34 in above the

           finished floor.

      v.   Plaintiff was exposed to a cutting/burning hazard at the lavatory sink pipes are not

           wrapped, therefore there is no proper insulation protecting users of that sink against

           the plumbing pipes under the sink. This is a violation of Section 4.19.4 of the

           ADAAG which states that hot water and drain pipes under lavatories shall be

           insulated or otherwise configured to protect against contact. This is also a violation

           of Section 606.5 of the 2010 ADA Standards for Accessible Design.

     vi.   Plaintiff could not use the lavatory mirror as the lavatory mirror is mounted too high,

           which is in violation of Section 213.3.5 of 28 C.F.R. Part 36, Section 4.19.6 of the

           ADAAG and Section 603.3 of the 2010 ADA Standards for Accessible Design

           which states that mirrors located above lavatories or countertops shall be installed

           with the bottom edge of the reflecting surface 40 inches (1015 mm) maximum above

           the finished floor or ground and mirrors not located above lavatories or countertops

           shall be installed with the bottom edge of the reflecting surface 35 inches (890 mm)

           maximum above the finished floor or ground.




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           23.     Pursuant to 42 U.S.C. §12101et seq. and 28 C.F.R. §36.304, Defendant has

    been required to make its restaurant accessible to persons with disabilities since January 28,

    1992. Defendant has failed to comply with this mandate.

           24.     Pursuant to 42 U.S.C. §12188, this Court is vested with the authority to grant

    Plaintiff injunctive relief, including an order to alter the commercial property and the

    restaurant located therein such that it is made readily accessible to, and useable by,

    individuals with disabilities to the extent required by the ADA.

           WHEREFORE, Plaintiff Jesus Gonzalez hereby demands judgment against

    Defendant EM Squared Miami, LLC and requests the following relief:

              a)       The Court declare that Defendant has violated the ADA;

              b)       The Court enter an Order directing Defendant to evaluate and neutralize

              its policies, practices and procedures toward persons with disabilities,

              c)       The Court enter an Order requiring Defendant to alter its KFC restaurant

              such that all non-compliant areas become accessible to and usable by individuals

              with disabilities to the full extent required by the Title III of the ADA;

              d)       The Court award reasonable costs and attorneys fees; and

              e)       The Court award any and all other relief that may be necessary and

              appropriate.

    Dated this 4th day of March 2022.

                                                  Respectfully submitted,

                                                  /s/ J. Courtney Cunningham
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